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 Attorneys for Defendant (01)
 MICHAEL J. MISKE, JR.

                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I

 UNITED STATES OF AMERICA,               CR. NO. 19-00099 DKW KJM

              Plaintiff,                 DEFENDANT MICHAEL J. MISKE,
                                         JR.’S MOTION FOR LEAVE TO
        v.                               FILE DOCUMENT IN EXCESS OF
                                         WORD LIMIT; DECLARATION OF
 MICHAEL J. MISKE, JR.,             (01) COUNSEL; CERTIFICATE OF
                                         SERVICE
              Defendant.
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           DEFENDANT MICHAEL J. MISKE, JR.’S MOTION
     FOR LEAVE TO FILE DOCUMENT IN EXCESS OF WORD LIMIT

       Defendant Michael J. Miske, Jr. (“Defendant”), by and through undersigned

 counsel, respectfully moves for leave to file his Memorandum in Support of his

 First Motion to Compel Discovery. This memorandum contains 14,510 words and

 is therefore in excess of the 6,250-word limit set forth in District of Hawai`i Local

 Rule 7.4(b).

       This motion is supported by the attached Declaration of Counsel. This

 motion is also supported by the proposed over-sized Memorandum itself, which,

 concurrently herewith, is being submitted to the Court for review.

       Mr. Miske respectfully submits that the attached Declaration of Counsel and

 the proposed Memorandum itself demonstrate good cause to exceed the word limit.

 Therefore, Mr. Miske respectfully requests that the Court grant him leave to file his

 Memorandum.

       DATED: Honolulu, Hawai`i, December 20, 2021.

                                               / s / Lynn E. Panagakos
                                               THOMAS M. OTAKE
                                               LYNN E. PANAGAKOS
                                                Attorneys for Defendant
                                                MICHAEL J. MISKE, JR. (01)
